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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


National Credit Union Administration Board,                 Civil No. 16-139 (DWF/LIB)

                    Plaintiff,

v.                                                     ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
Cumis Insurance Society, Inc.,

                    Defendant.


      The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Leo I. Brisbois dated October 22, 2018. (Doc.

No. 229.) No objections have been filed to that Report and Recommendation in the time

period permitted. The factual background for the above-entitled matter is clearly and

precisely set forth in the Report and Recommendation and is incorporated by reference.

Based upon the Report and Recommendation of the Magistrate Judge and upon all of the

files, records, and proceedings herein, the Court now makes and enters the following:

                                        ORDER

      1.     Magistrate Judge Leo I. Brisbois’s October 22, 2018 Report and

Recommendation (Doc. No. [229]) is ADOPTED.

      2.     Non-party Kevin R. Sobiech is found in contempt of court.

      3.     Kevin R. Sobiech shall be arrested and detained by the U.S. Marshal until

he purges his contempt by making arrangements to comply with the prior subpoenas for

production of deposition testimony and documents.
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      4.    Counsel for CUMIS shall personally serve a copy of the Report and

Recommendation on Kevin R. Sobiech, and file proof of service on CM/ECF.

Dated: November 30, 2018              s/Donovan W. Frank
                                      DONOVAN W. FRANK
                                      United States District Judge




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